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STATE OF GEORGIA, et. al.,


             ^                                      No. 2:15-cv-79
       Plaintiffs,

       V.



ANDREW WHEELER, et. al.,



       Defendants.



                                       ORDER


       Plaintiffs State Of          Georgia, State of        Alabama, State of

Florida,    State    of    Indiana,    State    of    Kansas,    State   of   South

Carolina,    State    of    Utah,     State    of    West   Virginia,    State    of

Wisconsin, Commonwealth of Kentucky, and North Carolina Department

of   Environment     and   Natural    Resources       (^^State   Plaintiffs")    and

Plaintiffs    American      Farm   Bureau     Federation,    American    Forest   &

Paper Association, American Petroleum Institute, American Road and

Transportation       Builders      Association,       Georgia     Association     of

Manufacturers, Georgia Faim Bureau Federation, Leading Builders of

America, National Alliance of Forest Owners, National Association

of Home Builders, National Association of Manufacturers, National

Cattlemen's Beef Association, National Corn Growers Association,
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National Mining Association,         National Pork Producers Council,

National   Stone,    Sand,   and    Gravel    Association,    Public   Lands

Council, U.S. Poultry & Egg Association ("Intervenor Plaintiffs")

are hereby ordered to respond to Defendants National Wildlife

Federation   and    One   Hundred   Miles's    ("Intervenor   Defendants")

Statement of Material Undisputed Facts in Support of Cross-Motion

for Summary Judgment, Dkt. No. 211-1, by Monday, December 10, 2018.



     SO ORDERED, this 4th day of December y^l^




                                    ^HOl^ LISASJ30DBEY WOOD
                                      :ted states district judge
                                    SOUTHERN DISTRICT OF GEORGIA
